Case 2:05-cr-20273-BBD Document 9 Filed 07/26/05 Page 1 of 2 Page|D 10

  
 

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wEsTERN DISTRICT oF TENNESSEE
Western Division 05 JUL 26 PH li= 22
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UNITED sTATEs oF AMERICA E{.§‘i§j' 5 faggle
"' "‘ ' _l`t-:
-vs- Case No. 2:05cr20273-D

GENE LEACH

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT
Upon motion of the Defendant, it is ORDERED that a detention hearing is re-set for
FRIDAY, AUGUST S, 2005 at 2:30 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Mernphis, TN TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing.
Date: July 26, 2005 ` /( %W

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

‘if not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendantl 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in l 8 U.S.C. § 3142(f) are present. Subsection (1 ) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror. /

AO 470 (BIBS} Order of Ten‘pora Detention
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UNITED sAsTE DISTRIC COURT - WEERST DISTRICT OF TENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20273 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

FPD

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E_ Greg Gilluly

U_S_ ATTORNEY'S OFFICE
167 N_ Main St_

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Honorable Bernice Donald
US DISTRICT COURT

